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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

                                       )
THE STATE OF GEORGIA,                  )
                                       )
      v.                               )            Case No. 1:23-cv-03621-SCJ
                                       )
MARK R. MEADOWS,                       )
                                       )
             Defendant.                )
                                       )

                DEFENDANT MARK R. MEADOWS’S
           EMERGENCY MOTION FOR STAY PENDING APPEAL

      Pursuant to Civil Rule 62 and Local Rule 7.2(b), Mark R. Meadows asks this

Court to stay the effect of its order, see Remand Order, Dkt. No. 69, which declined

jurisdiction and remanded this case to state court, pending his appeal to the U.S.

Court of Appeals for the Eleventh Circuit, see Notice of Appeal, Dkt. No. 71. Mr.

Meadows intends to seek expedited review in the Court of Appeals later today.1 He

has a right to appeal, see 28 U.S.C. § 1447(d), and a stay of the remand order is

prudent “to help prevent [this] removed case from becoming a shuttlecock, batted



1
  While this is a criminal case, the Court has docketed it as a civil matter. To avoid
any uncertainty about the applicable rules, Mr. Meadows seeks a stay in the district
court before requesting a stay from the Court of Appeals. Given the urgency of the
matter, however, Mr. Meadows intends to ask for a stay from the Court of Appeals
together with his request for expedited review, unless this Court grants a stay before
he does so this afternoon.
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back and forth between a state court and a federal court.” Forty Six Hundred LLC v.

Cadence Educ., LLC, 15 F.4th 70, 81 (1st Cir. 2021).

      While Mr. Meadows respectfully believes the Court erred, this Court need not

agree to stay the Remand Order. The Court may stay its order if Mr. Meadows has

“a substantial case on the merits” and the other stay factors—irreparable harm,

balance of equities, and public interest—favor a stay. Garcia-Mir v. Meese, 781 F.2d

1450, 1453 (11th Cir. 1986) (internal quotation omitted); see also Northrop

Grumman Tech. Servs., Inc. v. DynCorp Int’l LLC, No. 1:16CV534, 2016 WL

3346349, at *2 (E.D. Va. June 16, 2016) (first factor calls for the court to “determine

whether there is a strong likelihood that the issues presented on appeal could be

rationally resolved in favor of the party seeking the stay”). The Court should issue

a stay here to prevent the irreparable loss of the rights that Mr. Meadows asserts

under the Federal Officer Removal Statute and the Supremacy Clause.

      First, Mr. Meadows has at least a substantial case on the merits. The Court’s

own order states that the case presented a “novel question,” which informed the

Court’s decision. Remand Order at 14. The Court then relied on the State’s novel

theory of prosecution to distinguish numerous well-established precedents that favor

removal for federal officers. But the Court of Appeals will review those issues de

novo. See Castleberry v. Goldome Credit Corp., 408 F.3d 773, 780–81 (11th Cir.

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2005); Jefferson Cnty. v. Acker, 137 F.3d 1314, 1316 (11th Cir. 1998), rev’d on other

grounds, 527 U.S. 423 (1999). There are several aspects of the Court’s remand order

that depart from ordinary removal precedent and therefore provide Mr. Meadows at

least a substantial case on the merits before the Eleventh Circuit:

      Failing to Credit Mr. Meadows’s Account of His Conduct and Duties. The

Supreme Court has held that federal courts must credit the removing party’s theory

when determining whether he acted under color of federal office. See Jefferson Cnty.

v. Acker, 527 U.S. 423, 432 (1999). But in the Remand Order, this Court departed

from that command and credited the State’s allegations over Mr. Meadows’s

testimony or discounted Mr. Meadows’s testimony. See, e.g., Remand Order at 19

(crediting the State’s allegations that Meadows requested a memo on “disrupting and

delaying the joint session of Congress on January 6, 2021” and that he attended a

meeting about election fraud in Michigan, when he presented evidence that neither

event occurred); id. at 36 n.14 (holding that the Court would “treat the evidence

propounded . . . as neutral to the determination of whether particular Overt Acts were

within the scope of Meadows’s federal office” because of the State’s allegations).

      Inverting the Standard for Removal of “Mixed” Cases. Both the statutory

text and binding Eleventh Circuit precedent make clear that, if any portion of a

prosecution is removable, the entire case is removable. See 28 U.S.C. § 1442(a);

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Nadler v. Mann, 951 F.2d 301, 305 n.9 (11th Cir. 1992). But in the Remand Order,

this Court effectively held the opposite: that the case should be remanded if there is

any way the State could prove its case without relying on an official act. See, e.g.,

Remand Order at 19 (“In sum, to establish a RICO conspiracy the State only need

prove that any co-conspirator committed one overt act in furtherance of the

conspiracy, whether the overt act was specifically charged in the Indictment or not.

In other words, the State can prove its RICO charge against Meadows by showing

any one of his co-Defendants committed any overt act in furtherance of the

conspiracy—whether that overt act is in the Indictment or not.”); id. at 43

(recognizing at least some alleged Overt Acts involved Meadows acting within his

official duty, but still not permitting removal).

      Raising the Burden on Mr. Meadows to Justify Removal. The threshold for

removal under the Federal Officer Removal Statute is “quite low,” Caver v. Central

Alabama Elecric. Cooperative, 845 F.3d 1135, 1144 (11th Cir. 2017), and does not

“demand an airtight case on the merits in order to show the required causal

connection,” Acker, 527 U.S. at 432. But in the Remand Order, this Court held Mr.

Meadows to a higher standard, effectively requiring him to prove his defense and

justify the full scope of his duties in order to obtain removal. See, e.g., Remand Order



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at 28 (“Meadows was unable to explain the limits of his authority, other than his

inability to stump for the President or work on behalf of the campaign.”).

      There is a substantial possibility that the Eleventh Circuit will disagree with

this Court on at least one of these issues, or on other issues Mr. Meadows will raise

on appeal. The first factor therefore favors a stay.

      Second, absent a stay, there is a substantial risk Mr. Meadows will be

irreparably injured. Injuries are irreparable when they are “not easily measurable in

monetary terms.” WRIGHT & MILLER, 11A FED. PRAC. & PROC. CIV. § 2948.1 (3d

ed.); see also Cate v. Oldham, 707 F.2d 1176, 1189 (11th Cir. 1983) (injuries are

irreparable only when they cannot be remedied with money). The federal rights

Meadows invokes here include freedom not only from liability—i.e., conviction and

incarceration—but from the burdens of a state-court defense. See New York v.

Tanella, 374 F.3d 141, 147 (2d Cir. 2004).

      The irreparable harm has already begun. Meadows was compelled to

surrender on Wednesday, August 24, after the District Attorney refused a modest

delay of arrest pending federal removal. Meadows has since been compelled to

waive arraignment, to post a bond, and to begin preparing a defense for potential

state prosecution. Meadows has sought to minimize this harm by asking the state



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court to sever and stay his case. The state court held a hearing last Thursday on

related issues, but to date, has not rejected the State’s aggressive timeline.

      At a minimum, the Court should stay the remand order to protect Meadows

from a conviction pending appeal. Absent a stay, the State will continue seeking to

try Meadows 42 days from now on October 23, 2023. If the State gets its way,

Meadows could be forced to go to trial—and could be convicted and incarcerated—

before the standard timeline for a federal appeal would play out. The rights Meadows

asserts “would be effectively nullified” if the prosecution goes forward during this

appeal. Southmark Properties v. Charles House Corp., 742 F.2d 862, 868 (5th Cir.

1984); see also Davis, 100 U.S. at 262–263 (explaining that the Supremacy Clause

protects federal officials against being brought to trial in state court).

      The second factor thus strongly favors a stay.

      Third, a stay of Remand Order will not prejudice the State, nor other

defendants in state court, because it would not prevent other ongoing proceedings;

it would only prevent the court from entering a verdict against Meadows. And it will

not prevent proceeding in state court if the State prevails on appeal. Whatever

minimal burden the State faces from a stay pales in comparison to the burden on

Meadows. The third factor thus strongly favors a stay.



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      Finally, a stay is in the public interest. The very premise of Supremacy Clause

immunity and the Federal Officer Removal Statute is that it is vitally important to

the proper functioning of our Federal Government that federal officials be free from

state arrest and prosecution when carrying out their duties. See Tennessee v. Davis,

100 U.S. 257, 263 (1879). For the State to proceed to trial and seek to impose a

verdict, it would give rise to the very “chilling effect” that federal law goes out of

its way to protect against. Tanella, 374 F.3d at 147; see generally In re Neagle, 135

U.S. 1 (1890). A stay also prevents this case “from becoming a shuttlecock, batted

back and forth between a state court and a federal court.” Forty Six Hundred LLC,

15 F.4th at 81. Any public interest in faster state-court proceedings “is overshadowed

by the rat’s nest of comity and federalism issues which would arise should” the

Eleventh Circuit agree that Mr. Meadows is entitled to removal. See Northrop, 2016

WL 3346349, at *4.

                             *     *      *     *      *

      The Court should stay the Remand Order pending appeal.




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Dated: September 11, 2023                  Respectfully submitted,

                                           /s/ John S. Moran

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                           CERTIFICATE OF SERVICE

      On September 11, 2023, the foregoing Defendant Mark R. Meadows’s

Motion to Stay Pending Appeal was electronically filed with the Clerk of Court

using the CM/ECF system, which will automatically send email notification of such

filing to all attorneys of record.

      This, the 11th day of September, 2023.


/s/ John S. Moran

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                     CERTIFICATE OF COMPLIANCE

      The undersigned certifies that 14-point Times New Roman font was used for

this document and that it has been formatted in compliance with Local Rule 5.1.

      This, the 11th day of September, 2023.

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